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                         U.S. DISTRICT COURT
                    SOUTHERN DISTRICT OF GEORGIA
                         SAVANNAH DIVISION

REPUBLICAN NATIONAL
COMMITTEE and GEORGIA
REPUBLICAN PARTY, INC.,

      Plaintiffs,
v.
                                      CIVIL ACTION NO.: 4:24-CV-
                                      248
THOMAS MAHONEY III, et al.,

      Defendants,

DEMOCRATIC NATIONAL
COMMITTEE and DEMOCRATIC
PARTY OF GEORGIA, INC.,

      Intervenor Defendants.


     INTERVENOR DEFENDANTS’ OPPOSITION TO PLAINTIFFS’
     MOTION FOR PRELIMINARY INJUNCTION/TEMPORARY
                  RESTRAINING ORDER

                                AND

   MEMORANDUM OF LAW IN SUPPORT OF INTERVENOR
DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT




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                                INTRODUCTION

      Georgia’s election code states that absentee ballots can be returned until the

polls close on election day and allows counties to establish locations for the receipt

of hand-delivered absentee ballots. O.C.G.A. §§ 21-2-382(a), 21-2-385, 21-2-

386(a)(1)(A). This year, as in prior years, Georgia counties exercised that statutory

authority to designate various locations for voters to hand deliver absentee ballots.

And this year, as in prior years, certain counties elected to keep such locations open

after the end of in-person advance voting on November 1—just as Cobb, Chatham,

and Fulton counties did in 2022. Every aspect of this process is expressly permitted

by Georgia’s election code. Indeed, a Georgia state court held exactly that just two

days ago, rejecting claims brought by the Georgia Republican Party, Inc. (“GRP”)

premised on the same faulty interpretation of state law being advanced here.

Georgia’s Secretary of State agrees too, confirming that “[u]nder state law, election

officials can receive absentee ballots in person at govt facilities if the county

chooses.” 1

      With less than 48 hours before the close of polls, the Republican National

Committee (“RNC”) and GRP have nevertheless asked this Court to upend these


1
  Ex. A (@GaSecofState, X (Nov. 2, 2024, 2:04 PM); see also Ex. B
(@GabrielSterling, X (Nov. 2, 2024, 8:30 PM) (Chief Operating Officer in the
Office of the Georgia Secretary of State stating “To be clear, no election laws were
broken in Georgia today. The law clearly states that govt buildings can be used to
receive absentee ballots. A judge said so this morning.”).

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permitted procedures for receiving absentee ballots. Ignoring the plain language of

the election code, they claim that counties are barred from accepting absentee ballots

delivered by hand after the end of in-person advance voting on November 1. On

plaintiffs’ theory, this supposed breach of state law violates the federal constitution’s

Equal Protection and Elections Clauses.

      Plaintiffs’ claims fail because there is no statutory violation. As the Secretary

of State and Fulton County Superior Court have already explained, counties may

choose to receive absentee ballots delivered by hand at designated locations up to

and including on Election Day. That authority has nothing to do with the advance

voting period. Any contrary reading of the law would be nonsensical, permitting

absentee ballots to be received by mail on November 2, 3, and 4, but not to be

received by hand delivery on those same days. Were that not enough to deny relief—

and it is—the existence of parallel state court proceedings favors this Court’s

abstention, plaintiffs have sought relief far too late, and plaintiffs cannot establish

any of the other factors required for preliminary relief. The emergency motion for

a preliminary injunction or temporary restraining order should be denied and the

Complaint should be dismissed.

                                  BACKGROUND

      Georgia’s election code explicitly allows in-person return of absentee ballots.

O.C.G.A. § 21-2-385(a) (voter may “personally mail or personally deliver” absentee


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ballot to the board of registrars). And the code allows counties to establish locations

for the receipt of hand-delivered absentee ballots “notwithstanding” any other

election code provisions. Id. § 21-2-382(a) (“Any other provisions of this chapter

to the contrary notwithstanding, the board of registrars may establish additional

registrar’s offices or places of registration for the purpose of receiving absentee

ballots[.]”).

       Pursuant to this express grant of statutory authority, Georgia counties

regularly permit in-person return of absentee ballots to county offices up to and

including on election day. For example, during the 2022 general election, Cobb

County ran a comprehensive “last call” program for absentee ballots to be dropped

off in person at libraries across the county. 2 Also in 2022, Chatham County

permitted voters to turn in completed absentee ballots “to the Voter Registration

Office, located at 1117 Eisenhower Dr, Suite E before 7 p.m. on Election Day.” 3

Fulton County likewise permitted the in-person return of absentee ballots to the

county elections office “by 7 p.m. on Election Day” in 2022. 4 Indeed, the Secretary

of State’s official guidance for voting absentee has stated, since at least 2022, that a



2
  Ex. C (Croft, Taylor, “Absentee voters in Cobb can return ballots in person
before Election Day,” AJC POLITICS (Nov. 2, 2022)).
3
  Ex. D (Peebles, Will, “Request your absentee ballot now. How Georgia voters
can prepare for the Nov. 8 election,” SAVANNAHNOW (Aug. 23, 2022)).
4
  Ex. E (“Absentee Ballot Request Period Now Underway, November 4, 2022,”
FULTON CNTY. (August 22, 2022)).

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“ballot must be received by the county registrar no later than the close of polls on

Election Day” and “[d]elivery can be either U.S. first class mail or hand delivered

by the voter.” 5 During the 2024 election cycle, numerous counties are again

permitting voters to hand deliver absentee ballots to designated locations (typically

elections offices) up to and including on election day. See, e.g., Compl. ¶¶ 32, 34,

36, 38, 40. The counties announced that these locations would be accepting hand-

delivered ballots after November 1 as early as July 2024. See, e.g., Ex. F (July 17,

2024 Official Meeting Minutes of Gwinnett County Board of Voter Registration and

Elections).

      On November 1, 2024, the Fulton County Republican Party, Inc. (“FCRP”)

and GRP sued Fulton County in state court, raising the same flawed interpretation

of state law advanced in this suit. See Ex. G (Verified Emergency Petition (“Super.

Ct. Compl.”)). Specifically, FCRP and GRP alleged that Fulton County planned to

permit voters to return absentee ballots in person to the county’s Department of

Registration and Elections on November 2 and 3, 2024 in violation of O.C.G.A.

§§ 21-2-382 and 385(d)(1)(B). Id. ¶¶ 10-14. FCRP and GRP sought a preliminary

injunction prohibiting Fulton County from doing so. Id. ¶ 20, see also id. at 6.




5
 Ex. H (Raffensperger, Brad, A Guide for Registered Voters: An Overview of
Georgia’s Absentee Voting Process, GA. SEC’Y OF STATE (Mar. 30, 2022)).

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      On November 2, 2024, a hearing was held on FCRP’s and GRP’s suit. 6

DNC and DPG were granted intervention as defendants. The court denied FCRP

and GRP relief from the bench, stating “[t]here’s no violation, so I’m going to

deny your petition.” 7 The judge further observed that Georgia’s election code

“seems to indicate that personal delivery to the registrar and not to a drop box is

kosher. And more than kosher, lawful.”8 That same day, hours after the judge’s

ruling, Georgia’s highest-ranking election official, Secretary of State

Raffensberger, confirmed the legality of these counties’ actions, stating that

“[u]nder state law, election officials can receive absentee ballots in person at

gov[ernmen]t facilities if the county chooses.” 9

      Having failed in the state court, Plaintiffs now seek to subvert that prior ruling

by forum-shopping their claim to this Court. Plaintiffs filed a complaint and motion

for preliminary relief in this Court on November 3, 2024, alleging that the boards of



6
  A public recording of the hearing is available at
https://www.youtube.com/watch?v=wGqGpNsqODg. References to the hearing
recording are cited herein as “11/2/2024 Tr.” Intervenor Defendants have ordered
a transcript of the November 2, 2024 hearing. They will file the transcript with the
Court as soon as possible.
7
  See 11/2/2024 Tr. 1:10:34.
8
  See id. 15:18.
9
  Ex. A (@GaSecofState, X (Nov. 2, 2024, 2:04 PM)); see also Ex. B
(@GabrielSterling, X (Nov. 2, 2024, 8:30 PM)) (Chief Operating Officer in the
Office of the Georgia Secretary of State stating “To be clear, no election laws were
broken in Georgia today. The law clearly states that govt buildings can be used to
receive absentee ballots. A judge said so this morning.”).

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elections in Fulton, DeKalb, Cobb, Gwinnett, Athens-Clarke, Clayton, and Chatham

counties are allowing voters to hand deliver absentee ballots to county elections

offices on November 2, 3, and 4, 2024, which Plaintiffs allege violates O.C.G.A. §

21-2-385(d)(1)(B). 10 Compl. ¶¶ 3, 29-31, 43-44. Plaintiffs contend that permitting

the return of absentee ballots in violation of state law contravenes the Equal

Protection and Elections Clause of the Constitution, and seek (1) a declaration that

defendant counties violated the law; (2) an injunction barring the acceptance of

absentee ballots in person at election offices from November 2 to November 4; and

(3) an order requiring counties to segregate those absentee ballots already returned

to election offices in person after November 1. Id. ¶¶ 47-73; id. at 20-21.

                                LEGAL STANDARD

      A plaintiff seeking a preliminary injunction must establish (1) a substantial

likelihood of success on the merits; (2) irreparable injury absent an injunction; (3)

the threatened injury to the moving party outweighs whatever damage the proposed

injunction may cause the opposing party; and (4) if issued, the injunction would not



10
   Notably, Plaintiffs do not name as a defendant Walton County, which also
opened election offices on November 2 and 3 to allow voters to drop off absentee
ballots. Ex. I (Ahn, Ashley & Wickert, David, “Georgia Republicans escalate
attacks on counties that accepted weekend ballots,” AJC POLITICS (Nov. 4, 2024)).
Plaintiffs’ failure to seek injunctive relief against all of the counties engaged in the
process they contend is illegal means that any injunction this Court could issue
would itself create the disparate voting opportunities Plaintiffs purport to seek to
remedy by bringing this action.

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be against the public interest. GeorgiaCarry.org, Inc. v. U.S. Army Corps of Eng’rs,

788 F.3d 1318, 1322 (11th Cir. 2015). In this Circuit, the standard for obtaining a

temporary restraining order is the same as that for obtaining a preliminary injunction.

Parker v. State Bd. of Pardons & Paroles, 275 F.3d 1032, 1034-35 (11th Cir. 2001).

       Under Rule 12(b)(6), a complaint must be dismissed if it fails to allege

sufficient facts to state a claim that is plausible on its face. Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009). “A claim has facial plausibility when the plaintiff pleads

factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Id. “[A] plaintiff’s obligation to

provide the grounds of his entitlement to relief requires more than labels and

conclusions.”    Bell   Atlantic   Corp.       v.   Twombly,   550   U.S.   544,   555

(2007). “[C]onclusory allegations, unwarranted deductions of facts or legal

conclusions masquerading as facts will not prevent dismissal.” Oxford Asset Mgmt.,

Ltd. v. Jaharis, 297 F.3d 1182, 1188 (11th Cir. 2002). Well-pleaded factual

allegations are presumed true, but legal conclusions are not. Forbes v. CitiMortgage,

Inc., 2012 WL 13065511, at *1 (N.D. Ga. Apr. 17, 2012).

                                   ARGUMENT

 I.    Plaintiffs Cannot Succeed On The Merits

       A.    Georgia Law Permits Hand Delivery of Absentee Ballots at
             County-Designated Locations up to and on Election Day

       Plaintiffs argue that the time limit on “advance voting” set by O.C.G.A. § 21-


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2-385(d)(1)(B) prohibits accepting absentee ballots hand delivered to designated

county offices between November 2 to November 4. Compl. ¶¶ 1, 29-31. No such

restriction exists.

       As plaintiffs concede, O.C.G.A. § 21-2-385(d)(1)(B) addresses when

“advance voting” can be conducted. Under Georgia’s election code, “advance

voting” and “voting by absentee ballot” are distinct processes subject to different

statutory requirements. See, e.g., O.C.G.A. § 21-2-382; see also id. §§ 21-2-385(e),

21-2-381(a)(1)(A). Advance voting requires visiting an early voting location to vote

in person. See O.C.G.A. § 21-2-385(d). These voters, while going through the

check-in process, complete an absentee ballot application at the polls. SEB Reg.

§ 183-1-14-.02(11). The board of registrars immediately determines whether that

voter is eligible, and if so, the voter is instantly issued a voter access card

programmed with the correct ballot style. Id. The voter then makes their choices on

a voting machine, prints their ballot, and submits it into a ballot scanner. Id.

       Absentee voting involves applying to the registrar for an “absentee-by-mail

ballot.”   O.C.G.A. § 21-2-381(a)(1)(A). The procedures for applying for and

receiving an “absentee-by-mail ballot” are governed by a separate statutory scheme.

See id. For example, “absentee-by-mail ballot” applications are not instantaneous

and must be received no later than 11 days prior to the election. Id. Once the

application is received, the board of registrars assesses the voter’s eligibility and


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mails the voter a ballot, which can then be returned by mail or by hand to a

designated county office. O.C.G.A. § 21-2-385(a); id. § 21-2-382.

       Georgia’s election code expressly permits absentee ballots to be returned up

to and including on election day to designated county offices. Section 21-2-

386(a)(1)(A) instructs county boards to “keep safely, unopened, and stored in a

manner that will prevent tampering … all official absentee ballots received from

absentee electors prior to the closing of the polls on the day of the … election.”

O.C.G.A. § 21-2-386(a)(1)(A) (emphasis added). Such ballots are then processed

and counted. Id. § 21-2-386(a)(2).11 The code further allows absentee ballots to be

returned by mail or in person. Id. § 21-2-385 (voter may “personally mail or

personally deliver” absentee ballot to the board of registrars). Counties are also

permitted to establish “additional registrar’s offices or places of registration for the

purpose of receiving absentee ballots,” provided those locations meet certain basic

requirements, such as being a government building or polling place. Id. § 21-2-

382(a).

       Nothing in these provisions, nor any other, states that hand-delivered absentee

ballots can only be accepted until the close of advance voting on November 1. To



11
  Absentee ballots “returned to the board or absentee ballot clerk after the closing
of the polls on the day of the primary or election,” in contrast, are stored and then,
“without being opened,” must be destroyed. O.C.G.A. § 21-2-386 (a)(1)(F)
(emphasis added).

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the contrary, the defendant counties must accept all absentee ballots received by the

close of polls on election day, and are permitted to designate offices to receive hand-

delivered ballots prior to that deadline. For that reason, just two days ago the Fulton

County Superior Court rejected the same interpretation of state law that plaintiffs

advance here (in a suit brought by GRP, no less). In so doing, the Fulton County

Superior Court underscored the absurdity of Plaintiffs’ legal position, under which

the United States Postal Service can deliver an absentee ballot to a registrar on

November 2, 3, or 4, but the voter themselves cannot. Nothing in Georgia’s election

code requires such a result, and the Fulton County Superior Court correctly

concluded that the hand-delivery procedures plaintiffs seek to enjoin comply with

the election code. For good reason—any contrary reading of the law would permit

absentee ballots to be received by mail on November 2, 3, and 4, but not to be

received by hand delivery on those same days.

      B.     Plaintiffs Cannot Demonstrate a Constitutional Violation
      Plaintiffs’ federal constitutional claims require establishing a violation of state

law. Their equal protection claim is premised on “granting special privileges to

voters of [defendant] counties in violation of state law.” Compl. ¶ 5 (emphasis

added). Their Elections Clause claim depends on proving that the counties’ actions

“flout[] the Georgia General Assembly’s regulations setting the ‘Manner’ of federal

elections.” Id. ¶ 6 (emphasis added). Indeed, there is no way for plaintiffs to plead



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an Elections Clause violation without an underlying statutory violation, because it is

only such a violation that could (on Plaintiffs’ theory) usurp the role of the General

Assembly in regulating elections. Because plaintiffs cannot establish a violation of

state law, supra Section I.A., their federal claims necessarily fail. But even setting

this foundational defect aside, plaintiffs’ equal protection and Elections Clause

claims fail.

      First, plaintiffs’ equal protection claim is unlikely to be successful because it

is premised on a supposed “‘Uniformity Principle’ articulated in Bush v. Gore,” 531

U.S. 98 (2000), Compl. ¶ 56, that courts have repeatedly declined to extend beyond

the counting of votes, Bush, 531 U.S. at 109; see also City of Damascus v. Oregon,

367 Or. 41, 53 (Or. 2020) (Bush was “about uniformity of procedures for tabulating

votes”). Here, in contrast, plaintiffs’ claims turn on how ballots may be cast—a

situation never addressed in Bush.

      In all events, “local entities, in the exercise of their expertise” may “develop

different systems for implementing elections” consistent with the Equal Protection

Clause, Bush, 531 U.S. at 109, and state law may “reasonably provide for

jurisdiction-by-jurisdiction variation,” Election Integrity Project Cal., Inc. v. Weber,

113 F.4th 1072, 1091 (9th Cir. 2024). As a result, even “when boards of elections

‘vary ... considerably’ in how they decide to reject ballots, those local differences in

implementing statewide standards do not violate equal protection.” Trump v. Sec’y


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of. Pa., 830 F. App’x 377, 381 (3d. Cir. 2020); accord Donald J. Trump for President,

Inc. v. Boockvar, 502 F. Supp. 3d 899, 922-23 (M.D. Pa. Nov. 21, 2020) (“Requiring

that every single county administer elections in exactly the same way would impose

untenable burdens on counties, whether because of population, resources, or a

myriad of other reasonable considerations.”).

      That is the case here, where some counties have decided to exercise the

discretion granted to them by the General Assembly to designate additional locations

to receive absentee ballots during the time permitted by the election code. Courts

thus routinely reject equal protection claims premised on variations in the procedures

for casting ballots. Wexler v. Lepore, 342 F. Supp. 2d 1097, 1108 (S.D. Fla. 2004),

aff’d sub nom. Wexler v. Anderson, 452 F.3d 1226 (11th Cir. 2006) (rejecting equal

protection challenge to touchscreen voting technology in some counties); Sw. Voter

Registration Project v. Shelley, 344 F.3d 914, 918 (9th Cir. 2003) (en banc)

(rejecting equal protection challenge to the use of punch card technology by some

counties).   This includes rejecting challenges to mail-in voting that involve

variations far more significant than those at issue here. See, e.g., Donald J. Trump

for President, Inc. v. Bullock, 491 F. Supp. 3d 814, 836-837 (D. Mont. 2020) (“The

crux of [plaintiffs] argument, as pled in their complaint, is that the use of a mail

ballot system by some counties and not others results in unconstitutionally disparate

treatment [...] few (if any) electoral systems could survive constitutional scrutiny if


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the use of different voting mechanisms by counties offended the Equal Protection

Clause”).

      Plaintiffs primarily rely on Wexler v. Anderson in support of their equal

protection claim, but that decision denied relief and supports the same result here.

The Wexler plaintiffs alleged that voters in counties using touchscreen voting

machines were subjected to arbitrary and disparate treatment relative to voters in

counties that used optical scan technology. Wexler, 452 F.3d at 1227. The Eleventh

Circuit held that the equal protection inquiry turned on whether “voters in

touchscreen counties [were] less likely to cast an effective vote than voters in optical

scan counties”—“not the question of whether uniform procedures have been

followed across a state regardless of differences in voting technology.” Id. at 1232

(emphasis added). As in Wexler, the answer to the relevant question—whether

voters in locations that did not open return locations are “less likely to cast an

effective vote,” i.e., less likely that a vote, once cast, is counted—is no. The

challenged practice is the method of delivering ballots to county officials, not how

votes are counted. Voters in the defendant counties are no more or less likely to cast

an effective vote than voters in other counties—whether a ballot is delivered to an

elections office by mail or by hand has no impact on the likelihood that the vote,

once cast, will be counted. An absentee ballot returned on November 1 or 5 counts

the same as an absentee ballot returned on November 2, 3, or 4.


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      Plaintiffs’ Elections Clause challenge is also without merit. As explained, the

defendant counties did not “attempt to re-write the laws governing the deadlines for

advance voting,” Compl. ¶ 66, but rather applied that election code as written in

accord with established practices, supra at Section I.A. Said otherwise, the situation

here has nothing to do with the Elections Clause at all; defendant counties have

respected the “role assigned and entrusted by the Constitution to the legislature” by

implementing the General Assembly’s detailed scheme for absentee voting. Valenti

v. Mitchel, 790 F. Supp. 551, 555 (E.D. Pa. 1992), cited at Compl. ¶ 66. Plaintiffs

do not, for example, seek review of a state court judgment on the theory that an

interpretation of state law “transgress[ed] the ordinary bounds” of statutory

interpretation, the only even potentially relevant application of the Elections Clause

ever endorsed by the Supreme Court. Moore v. Harper, 600 U.S. 1, 36 (2023).

Instead, and once more, they challenge counties’ settled application of the election

code. Nor can a county continuing to apply an interpretation recently endorsed by a

state court and the Secretary of State itself credibly be deemed to “transgress the

ordinary bounds” of statutory interpretation. To hold otherwise would transform

every state law disagreement about election law into a federal constitutional claim.

      C.     Ongoing State Court Proceedings Require Abstention

      Plaintiffs’ blatant forum-shopping should not be countenanced by this Court.

Plaintiffs have raised substantially the same state statutory argument in litigation



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currently pending before the Fulton County Superior Court, and principles of

abstention and comity require this Court to stay its hand. As described above, the

fundamental issue in both cases is based on state law—whether Defendants have

violated the Georgia code. Both cases allege that defendants are allowing absentee

ballots to be received in violation of O.C.G.A. § 385(d)(1)(B). See Compl. ¶¶ 43-

44; Ex. G (Super. Ct. Compl.) ¶¶ 20, 27. Specifically, the plaintiffs in both actions

allege that “advance voting” ended on November 1, 2024, but that certain counties

have announced that they will allow voters to hand return absentee ballots through

the weekend of November 2-3. See Compl. ¶¶ 29-46; Ex. G (Super. Ct. Compl.)

¶¶ 10-16. Accordingly, the claims in both litigations turn on whether this practice

violates the Georgia election code.

      Although Plaintiffs attempt to cloak their state law claims in the federal

Constitution, it is clear that they are seeking relief based on alleged violations of the

Georgia code. Indeed, Plaintiffs state in the very first sentence of their motion for

preliminary relief that they are seeking relief based on “violation[s] of state law.”

Mot. for TRO at 1. In their Complaint, they similarly lead with alleged state law

violations. See, e.g., Compl. ¶¶ 1-4. Attempting to disguise a state law claim by

pleading federal constitutional violations as a result of that alleged violation of state

law is improper. This Court should abstain because “it would be uneconomical as

well as vexatious for a federal court to proceed in a declaratory judgment suit where


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another suit is pending in a state court presenting the same issues, not governed by

federal law, between the same parties.” Brillhart v. Excess Ins. Co. of Am., 316 U.S.

491, 495 (1942); see also Taveras v. Bank of Am., N.A., 89 F.4th 1279, 1286 (11th

Cir. 2024) (courts consider whether state or federal law will be applied for

abstention); Gold-Fogel v. Fogel, 16 F.4th 790, 798 (11th Cir. 2021) (discussing

“traditional concepts of federalism, efficiency, and comity”).

      Additional factors weigh in favor of abstention. First, the federal forum is

inconvenient as, for many of the Defendants, this Court’s Savannah Division is a

substantial distance from their home jurisdiction (for example, Savannah is a more

than 250-mile drive from parts of Gwinnett, Fulton, DeKalb, and Cobb counties and

a nearly 230-mile drive from parts of Clayton county). See Taveras, 89 F.4th at

1286 (courts consider inconvenience of federal forum for abstention). Second, there

is a substantial likelihood of piecemeal litigation if this Court does not abstain given

the substantial overlap in the allegations and relief sought in both litigations, as

described above. See Moses H. Cone Mem’l Hosp. v. Mercury Constr. Corp., 460

U.S. 1, 16 (1983). In the Fulton County Superior Court litigation, the court already

concluded that the practices challenged in this suit are consistent with the election

code and denied the relief requested here. An adverse decision in this litigation

would mean that counties that relied on the Fulton County Superior Court’s ruling

to continue accepting ballots over the past 48 hours face a federal court order


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 invalidating the very same conduct. Third, as described above, the Superior Court

 litigation was filed before and is more advanced than this litigation. See Taveras,

 89 F.4th at 1286.

II.     Plaintiffs Are Unlikely To Succeed On The Merits Of Their Claims
        Because Purcell And Laches Bar Relief
        Plaintiffs are also unlikely to succeed on the merits of their claims because

 this suit was brought long after the conduct at issue started and while voting in the

 November 5 election is ongoing. Courts routinely reject such late-in-time claims

 that burden voters and foster confusion and uncertainty on the eve of elections. This

 Court should do the same.

        A.    Purcell Bars Relief
        A bedrock principle of election law is that “lower federal courts should

 ordinarily not alter the election rules on the eve of an election.” Republican Nat’l

 Comm. v. Democratic Nat’l Comm., 589 U.S. 423, 424 (2020) (per curiam). The

 Supreme Court has cautioned that “[c]ourt orders affecting elections … result in

 voter confusion and consequent incentive to remain away from the polls,” Purcell v.

 Gonzalez, 549 U.S. 1, 4-5 (2006) (per curiam), and thus federal courts “should not

 enjoin state election laws in the period close to an election,” Merrill v. Milligan, 142

 S.Ct. 879, 879 (2022) (Kavanaugh, J., concurring), vacated on other grounds by

 Allen v. Caster, 599 U.S. 1 (2023); see also New Ga. Project v. Raffensperger, 976

 F.3d 1278, 1283 (11th Cir. 2020) (declining to issue an injunction a month before


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an election because it would “violate Purcell’s well-known caution against federal

courts mandating new election rules—especially at the last minute”). Judicial

restraint “discourages last-minute litigation and instead encourages litigants to bring

any substantial challenges to election rules ahead of time.” Democratic Nat’l Comm.

v. Wis. State Legislature, 141 S.Ct. 28, 31 (2020). Federal district courts in this

Circuit have likewise defended the principles animating the Purcell doctrine. See,

e.g., Int’l All. of Theater Stage Emps. Local 927 v. Fervier, 2024 U.S. Dist. LEXIS

134977, at *14 (N.D. Ga. July 31, 2024) (applying Purcell when election in four

months).

      The closer legal challenges are to an election, the higher the risk the challenges

will cause confusion and disarray and undermine confidence in the general election

results. See Purcell, 549 U.S. at 4-5. The Eleventh Circuit and Georgia’s district

courts have determined that, at a minimum, Purcell requires plaintiffs seeking

election-law changes on the eve of an election to overcome a significant burden. In

particular, the Eleventh Circuit has explained that Purcell “([] significantly)

‘heightens’ the standard that a plaintiff must meet to obtain injunctive relief that will

upset a state’s interest in running its elections without judicial interference.” League

of Women Voters of Fla., Inc. v. Fla. Sec’y of State, 32 F.4th 1363, 1372 (11th Cir.

2022) (emphasis added).

      Purcell applies here, where Plaintiffs ask this Court to change established


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voting procedures just hours prior to the general election by invalidating a

longstanding mechanism for returning absentee ballots. Plaintiffs’ challenge,

brought on the eve of election day, would cause confusion and hardship for

voters. That, in turn, jeopardizes voter “confidence in the integrity of [Georgia’s]

electoral processes,” and undermines the “functioning of … participatory democracy”

that Purcell is meant to protect. Alpha Phi Alpha Fraternity Inc. v. Raffensperger,

587 F. Supp. 3d 1222, 1324 (N.D. Ga. 2022).

      B.     Laches Bars Relief
      Plaintiffs’ claims are also barred by the doctrine of laches, see Sanders v.

Dooly Cnty., 245 F.3d 1289 (11th Cir. 2001), so long as Intervenor Defendants can

show “‘(1) there was a delay in asserting a right or a claim, (2) the delay was not

excusable, and (3) the delay caused [them] undue prejudice.’” Wood v.

Raffensperger, 501 F. Supp. 3d 1320, 1323 (quoting United States v. Barfield, 396

F.3d 1144, 1150 (11th Cir. 2005)). All three elements are met here, as Plaintiffs

have been on notice since 2022 of the practices of which they now complain.

      First, Plaintiffs unreasonably delayed asserting this claim. Plaintiffs have

been on notice since at least 2022 that counties accept hand delivery of absentee

ballots at county elections offices until the close of polls on election day. Supra at

Section I.A. A two-year delay in bringing suit is particularly egregious given that

the general election is tomorrow. Absentee voters have been mailing or delivering



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in-person their absentee ballots for weeks, and the three-day period during which

plaintiffs claim hand delivery should not have been permitted was nearly over by the

time they filed suit. Moreover, Plaintiffs brought this suit after the start of the return

period they now seek to invalidate—despite the counties’ posted announcements as

early as July 17, 2024. Compl. ¶¶ 32, 36, 38, 40; see also Ex. F (July 17, 2024

Official Meeting Minutes of Gwinnett County Board of Voter Registration and

Elections).

      Second, Plaintiffs have not presented a valid excuse for their delay. See

Daugherty v. Fulton Cnty. Registration & Election Bd., 2021 Ga. Super. LEXIS

1991, at *9 (Fulton Cnty. Super. Ct. Aug. 2, 2021) (laches barred election claim

where plaintiffs’ actions reflected “significant neglect in asserting and pursuing his

rights”). In Wood v. Raffensberger, the district court held that laches barred the

plaintiffs’ claim challenging Georgia officials’ enforcement of a settlement

agreement concerning handling of absentee ballots because he “failed to submit any

evidence explaining why he waited to bring these claims until the eleventh hour”

and failed to “articulate any reasonable excuse for his prolonged delay.” 501 F. Supp.

3d at 1324. Plaintiffs have similarly not provided any evidence for their delay in

challenging these counties’ decision to let absentee ballots be received by in-person

delivery on November 2, 3, and 4.

      Third, the delay is prejudicial to Defendants, Intervenor Defendants, and


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  Georgia’s voters. Allowing delayed challenges would risk both voter and election-

  administrator confusion. Here, the requested relief would potentially disenfranchise

  the voters who delivered their absentee ballots in-person on November 2, 3, and 4.

III.     The Balance Of Harms And Public Interest Favor Defendants
         As a threshold matter, Plaintiffs claim irreparable harm based only on the

  asserted “violations of state law,” and do not assert any irreparable injury predicated

  on a violation of their constitutional rights. Mot. for TRO at 7. Even if Plaintiffs

  could demonstrate a legal violation—they cannot—that is not sufficient to make the

  showing of irreparable harm that is required to warrant an injunction.             Cf.

  GeorgiaCarry.org, Inc., 788 F.3d at 1379.

         Plaintiffs also fail to demonstrate that the balance of harms favors preliminary

  relief. In fact the balance of harms favors the opposite. Plaintiffs seek to upend the

  status quo by stopping the acceptance of hand-delivered absentee ballots

  immediately, disenfranchising Georgia voters in the midst of an ongoing election.

  Georgia counties have allowed voters to return absentee ballots to county offices up

  to and including on election day for years, and publicly announced that this practice

  would continue several days ago. Supra at Section I.A. Voters have already been

  relying on that representation—buttressed by a court decision on Saturday affirming

  the counties’ practice—to hand deliver their ballots, all of which would be thrown

  into question in the event this Court reaches a different result.



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                                CONCLUSION
      The Court should deny the motion for preliminary relief. For the same reasons

plaintiffs are unlikely to succeed on the merits, the Court should grant DNC’s and

DPG’s motion to dismiss with prejudice.

Respectfully submitted, this 4th day of November, 2024.


 /s/ Jeffrey R. Harris                       Daniel.volchok@wilmerhale.com
Jeffrey R. Harris                            Kevin.lamb@wilmerhale.com
Georgia Bar No. 330315
HARRIS LOWRY MANTON LLP                      Felicia H. Ellsworth*
410 E. Broughton Street                      Sharon K. Hogue*
Savannah, GA 31401                           WILMER CUTLER PICKERING
(912) 651-9967                               HALE AND DORR LLP
jeff@hlmlawfirm.com                          60 State Street
                                             Boston, MA 02109
Kurt G. Kastorf*                             (617) 526-6000
KASTORF LAW LLC                              Felicia.ellsworth@wilmerhale.com
1387 Iverson Street NE Suite #100            Sharon.hogue@wilmerhale.com
Atlanta, GA 30307
(404) 900-0330                               Alex W. Miller*
Kurt.kastorflaw.com                          WILMER CUTLER PICKERING
                                             HALE AND DORR LLP
Seth P. Waxman*                              250 Greenwich Street
Daniel S. Volchok*                           New York, NY 10007
Kevin Lamb*                                  (212) 230-8800
WILMER CUTLER PICKERING                      Alex.miller@wilmerhale.com
HALE AND DORR LLP
2100 Pennsylvania Avenue N.W.                Anuj Dixit*
Washington, D.C. 20037                       WILMER CUTLER PICKERING
(202) 663-6000                               HALE AND DORR LLP
Seth.waxman@wilmerhale.com                   350 South Grand Avenue


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Los Angeles, CA 90071
(213)443-5300
Anuj.dixit@wilmerhale.com

Attorneys for Intervenor Defendants
Democratic National Committee and
Democratic Party of Georgia, Inc.

* Pro hac vice application
forthcoming




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Fulton Home   News   Absentee Ballot Request Period Now Underway




ABSENTEE BALLOT REQUEST PERIOD
NOW UNDERWAY
August 22, 2022
October 28 is the deadline to submit an Absentee Ballot Application for
November 8 General Election


  SHARE THIS STORY



The 2022 Absentee Ballot Application process opened for Fulton County residents on
Monday, August 22, 2022 for the November 8 General Primary Election.

Absentee ballots provide the option to residents who need or prefer to vote by mail instead of
in-person. Changes in state law in 2021 have brought many changes to the absentee ballot
process.

To assist with the absentee ballot application process, the Fulton Absentee Portal is open as
of Monday, August 22.
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Those interested in an absentee ballot for the 2022 Election can go to
www.fultoncountyga.gov/absenteeballot or to https://bit.ly/3dQGaXK to 1) request an
application, 2) download an application, and 3) return the completed application by accessing
the Fulton County Absentee Ballot portal.

To vote by absentee ballot in Fulton County, residents must first be registered to vote in
Fulton County. To check your status, visit the Georgia My Voter Page at www.mvp.sos.ga.gov.

To complete the absentee ballot application, voters will need the:
   • Name and date of the election.
   • Voter’s name
   • Address where the voter is registered
   • Voter’s date of birth
   • Voter’s signature
Voters must include their Driver’s License number or Georgia ID number on their absentee
ballot application. If they do not have either of these forms of ID, voters should follow
instructions on the application for alternate forms of ID.

Signed and completed absentee ballot applications may also be returned to the:
   • By Mail: Fulton County Department of Registrations and Elections located at 130
   Peachtree Street, Suite 2186 in downtown Atlanta for mail or hand-delivered applications.
   • By Email: elections.voterregistration@fultoncountyga.gov
All 2022 absentee ballots applications must be received by the Department of Registrations
and Elections by Friday, October 28, 2022.

Voters must return their completed absentee ballots by 7 p.m. on Election Day. While
Absentee Ballot Drop boxes will still be available, they will be located in seven Fulton County
early voting locations and accessible from 7 a.m. to 7 p.m. Monday – Saturday and 11 a.m.
– 5 p.m. on Sunday from October 17 – November 4. Absentee ballots may also be returned
to the three offices of the Department of Registration & Elections, which will be open during
early voting hours.

To vote by absentee ballot in Fulton County, residents must first be registered to vote in
Fulton County. To check your status or register online, visit the Georgia My Voter Page at
www.mvp.sos.ga.gov.

Voters can learn more about the Absentee Ballot process at the Fulton Votes app or online at
www.fultonelections.com.
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CONTACT US

HELPFUL LINKS




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                                             OFFICIAL MEETING MINUTES
                                         ACTAS DE LA REUNIÓN OFICIALES


          Gwinnett County Board of Voter Registrations and Elections
                     Wednesday, July 17, 2024, 6:00pm
              Gwinnett County Justice and Administration Center, Auditorium
                     75 Langley Drive, Lawrenceville, Georgia 30046

                 Junta de Inscripciones de Votantes y Elecciones
                            del Condado de Gwinnett
                      Miércoles, 17 de Julio, 2024 6:00pm
          El Centro de Justicia y Administración del Condado de Gwinnett, La Sala
                       75 Langley Drive, Lawrenceville, Georgia 30046


            1. Call to Order, Moment of Silence, Pledge of Allegiance / Inicio de la
               Reunión, Momento de Silencio, Juramento de Lealtad

                 The Chairwoman called the meeting to order at 6:00pm.

                 Present: Wandy Taylor EdD, Chairwoman, David Hancock, and Loretta Mirandola.
                 Also present: Zach Manifold, Elections Supervisor, Kelly Lindsey, Deputy Elections
                 Supervisor, Shantell Black, Assistant Elections Supervisor and Melanie Wilson,
                 Senior Assistant County Attorney, Samantha Routh, Senior Assistant County
                 Attorney.

                 La Presidenta declara abierta la sesión a las 6:00pm.

                 Presentes: Wandy Taylor EdD, Presidenta, David Hancock, y Loretta Mirandola.
                 También presentes: Zach Manifold, Supervisor de Elecciones. Kelly Lindsey,
                 Supervisora Adjunta de Elecciones de Elecciones, Nicole Wilson, Gerente de
                 Negocios y Elecciones, Shantell Black, Asistente del Supervisor de Elecciones,
                 Melanie Wilson, Fiscal Asistente Principal del Condado, y Samantha Routh, Fiscal
                 Asistente Principal del Condado.

            2. Opening Remarks / Discurso de Apertura Expand upon remarks as needed

                 The Chairwoman welcomed everyone to the meeting and acknowledged her
                 colleagues and elections staff.

                 La presidenta dio la bienvenida a todos a la reunión y saludó a sus colegas y al
                 personal electoral.



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           3. Approval of Agenda / Aprobación de la Agenda

                The Chairwoman made a motion to approve agenda.

                La Presidenta hizo una moción para aprobar la agenda.

                (Action: Approve; Motion: Hancock; Second: Mirandola)
                Vote: 3-0-0; Taylor-Yes; Rodriguez- Absent; O’Lenick-Absent; Hancock-Yes;
                Mirandola-Yes

                (Acción: Aprobar; Moción: Hancock; Secundado: Mirandola)
                Votó: 3-0-0; Taylor-Sí; Rodriguez-Ausente; O’Lenick-Ausente; Hancock- Sí;
                Mirandola-Sí

           4. Approval of Minutes / Aprobación de Actas

              a. 06.24.2024 BRE Regular Schedule Meeting / 06.24.2024 Reunión de horario
                 regular de BRE
                 (Action: Approve; Motion: Mirandola; Second: Hancock)
                 Vote: 3-0-0; Taylor-Yes; Rodriguez- Absent; O’Lenick-Absent; Hancock-Yes;
                 Mirandola-Yes

                 (Acción: Aprobar; Moción: Mirandola; Secundado: Hancock)
                 Votó: 3-0-0; Taylor-Sí; Rodriguez-Ausente; O’Lenick-Ausente; Hancock- Sí;
                 Mirandola-Sí

              b. 06.24.2024 BRE Special Called Meeting / 06.24.2024 Reunión especial
                 convocada por BRE

                 (Action: Approve; Motion: Mirandola; Second: Hancock)
                 Vote: 3-0-0; Taylor-Yes; Rodriguez-Absent; O’Lenick-Absent; Hancock-Yes;
                 Mirandola-Yes

                 (Acción: Aprobar; Moción: Mirandola Secundado: Hancock)
                 Votó: 3-0-0; Taylor-Sí; Rodriguez-Ausente; O’Lenick-Ausente; Hancock-Sí;
                 Mirandola-Sí

           5. Reports and Updates / Informes y Actualizaciones

              a. Committee Reports / Informes del Comité

                   No committee reports

                   No hay informes del comité

              b. Chairwoman’s Update / Actualización de la presidenta

                   The Chairwoman hoped that everyone had a safe and enjoyable Independence
                   day and to remember the importance of the day. Mention of the assassination
                   attempt on former president Trump, noting that disagreements should be
                   handled at the polls and not with violence.
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                     La Presidenta esperaba que todos tuvieran un Día de la Independencia seguro y
                     agradable y que recordaran la importancia del día. Mención al intento de
                     asesinato del expresidente Trump, señalando que los desacuerdos deben
                     manejarse en las urnas y no con violencia.


                c. Elections Supervisor’s Update / Actualización del Supervisor de Elecciones

                     Manifold provided an update on several types of list maintenance, conveying
                     21,610 notices will have been mailed to voters by July 26, 2024. An update on
                     voter challenges submitted to the Board in May 2024 noting 1662 letters were
                     sent to both Florida and Georgia, 759 letters sent to both to North Carolina and
                     Georgia. 200 voters have responded to letters, 489 letters were returned
                     undeliverable by USPS. The Board will conduct a special called meeting to
                     further discuss the challenges.

                     Lindsey reviewed the monthly registered voters report. Provided an update on
                     the present status for the City of Mulberry.

                     Black presented an overview of the Risk Limiting Audit process and procedures.

                     Lindsey provided updates on open record requests, new Election rules &
                     legislation, and outreach & education events.

                     Manifold proporcionó una actualización sobre varios tipos de mantenimiento
                     de listas, informando que se habrán enviado 21,610 avisos por correo a los
                     votantes antes del 26 de julio de 2024. Una actualización sobre las
                     impugnaciones de los votantes presentadas a la Junta en mayo de 2024,
                     señalando que se enviaron 1662 cartas tanto a Florida como a Georgia, 759
                     Cartas enviadas tanto a Carolina del Norte como a Georgia. 200 votantes
                     respondieron a las cartas, 489 cartas fueron devueltas y no pudieron ser
                     entregadas por USPS. La Junta llevará a cabo una reunión especial convocada
                     en un futuro próximo para discutir más a fondo los desafíos.

                     Lindsey revisó el informe mensual de votantes registrados. Una actualización
                     sobre el estado actual de la ciudad de Mulberry.

                     Black presentó una descripción general del proceso y los procedimientos de la
                     Auditoría de limitación de riesgos.
                     Lindsey proporcionó actualizaciones sobre solicitudes de registros abiertos,
                     nuevas reglas y legislación electoral y eventos educativos y de divulgación.

           6.   Old Business / Asuntos Pasados

                   There was no old business.

                   No había ningún asunto antiguo.

           7. New Business / Asuntos Nuevos

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                 a. Gas South polling location contract / Contrato del centro de votación
                    de Gas South

                    (Action: Approve; Motion: Hancock; Second: Mirandola)
                    Vote: 3-0-0; Taylor-Yes; Rodriguez-Absent; O’Lenick-Absent; Hancock-Yes;
                    Mirandola-Yes



                    (Acción: Aprobar; Moción: Hancock; Secundado: Mirandola)
                    Votó: 3-0-0; Taylor-Sí; Rodriguez-Ausente; O’Lenick-Ausente; Hancock-Si;
                    Mirandola-Sí

                 b. 2024 General Election Advance Voting / Votación anticipada para las
                    elecciones generales de 2024

                    Manifold advised an AIP polling location has been identified to better service
                    the Grayson area. A vote will occur to approve and finalize the contract at the
                    next meeting.

                    Manifold informó que se ha identificado un lugar de votación de AIP para
                    brindar un mejor servicio al área de Grayson. Se producirá una votación para
                    aprobar y finalizar el contrato en la próxima reunión.

                 c. 2024 General Election Provisional Challenge Meeting / Reunión de
                    impugnación provisional de las elecciones generales de 2024

                    A special meeting will be held on November 9, 2024, at 9:00am at the
                    Beauty P. Baldwin Voter Registrations and Elections office to review
                    the Provisional ballots from the General Election.

                    Se llevará a cabo una reunión especial el 9 de noviembre de 2024 a las
                    9:00 a. m. en la oficina de Elecciones y Registro de Votantes de Beauty
                    P. Baldwin para revisar las boletas provisionales de las Elecciones
                    Generales.

                 d. Authorize acceptance of ABM ballots at AIP locations for 2024 General
                    cycle / Autorizar la aceptación de la boletas de ABM en las ubicaciones
                    de AIP para el ciclo general de 2024

                    Tabled until the other board members are present.

                    Pospuesto hasta que los demás miembros de la junta estén presentes.

                 e. Authorization or agreement to open Elections office November 2 and
                    November 3 for purpose of accepting voted ABM ballots /
                    Autorización o acuerdo para abrir la oficina de Elecciones el 2 y 3 de
                    noviembre con el propósito de aceptar boletas ABM votadas

                     (Action: Approve; Motion: Mirandola; Second: Hancock)

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                      Vote: 3-0-0; Taylor-Yes; Rodriguez-Absent; O’Lenick-Absent; Hancock-Yes;
                      Mirandola-Yes

                      (Acción: Aprobar; Moción: Mirandola; Secundado: Hancock)
                      Votó: 3-0-0; Taylor-Sí; Rodriguez-Ausente; O’Lenick-Ausente; Hancock-Si;
                      Mirandola-Sí

           8. Public Comments / Comentarios Públicos
                 Four speakers shared comments with the Board.
                 Cuatro oradores compartieron comentarios con la Junta.




           9. Closing Remarks / Comentarios Finales

                 The Chairwoman thanked everyone for attending the meeting and called for a
                 motion to adjourn.

                 La Presidenta agradeció a todos por asistir a la reunión y solicitó una moción
                 para levantar la sesión.

           10. Adjournment / Clausura

                 The Chairwoman adjourned the meeting at 7:20pm.

                 La Presidenta levantó la sesión a las 7:20pm.

                 (Action: Approve; Motion: Mirandola; Second: Hancock)

                 (Acción: Aprobar; Moción: Mirandola; Secundado: Hancock)




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                     IN THE SUPERIOR COURT OF FULTON COUNTY
                                 STATE OF GEORGIA


FULTON COUNTY REPUBLICAN
PARTY, INC and GEORGIA
REPUBLICAN PARTY, INC.


                              Plaintiffs,              CIVIL ACTION FILE NO:
               v.                                      VERIFIED COMPLAINT
FULTON COUNTY

Defendant.




        VERIFIED EMERGENCY PETITION FOR TEMPORARY AND PERMANENT

  INJUNCTIVE RELIEF, DECLARATORY JUDGMENT, MEMORANDUM OF LAW,

     AND COMPLAINT FOR VIOLATIONS OF O.C.G.A. §§ 21-2-381 AND 21-2-385

       NOW COMES, Plaintiffs Fulton County Republican Party, Inc., and Georgia Republican

Party, Inc. (Collectively “GOP”) by and through their counsel file this, their Verified Emergency

Petition for Injunctive Relief and Complaint for Violations of the Georgia Election Code §§ 381

and 385 et seq. and hereby state as their Complaint against Defendant Fulton County

(“Defendant” or “Fulton”), as follows:

                                JURISDICTION AND VENUE

       1.      The Court has subject matter jurisdiction over this matter pursuant to O.C.G.A. §§

9-4-2 and 15-6-8.

       2.      Venue is proper in Fulton County pursuant to O.C.G.A. §§ 9-10-30 and 9-10-31

in that at Defendant resides in this county and the cause of action accrued in this county.

                                            PARTIES

       3.      Plaintiff Fulton County Republican Party, Inc is a county political committee that

works to ensure elections in Fulton County are conducted in a free and fair manner, seeks to


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assist and facilitate the electoral success of the candidates, and works to protect the fundamental

constitutional right to vote of its members and all voters of Fulton County.

           4.      Plaintiff Fulton County Republican Party, Inc has a direct, personal, and

substantial interest in ensuring that the sanctity of the election is upheld and that the laws be

followed regarding when the ballot boxes can be available for the dropping of off absentee

ballots.

           5.      Plaintiff Georgia Republican Party, Inc. is a state political committee that works

to ensure elections in Georgia are conducted in a free and fair manner, seeks to assist and

facilitate the electoral success of the candidates, and works to protect the fundamental

constitutional right to vote of its members and all voters of the state of Georgia.

           6.      Plaintiff Georgia Republican Party, Inc. has a direct, personal, and substantial

interest in ensuring that the sanctity of the election is upheld and that the laws be followed

regarding when the ballot boxes can be available for the dropping of off absentee ballots.

           7.      Defendant Fulton County is a political subdivision of the State of Georgia and

subject to suit.

           8.      Defendant Fulton County is responsible for overseeing the conduct of elections in

Fulton County, including but not limited to the conduct of election personnel at polling locations

throughout the county and the regulation of polling places. Its principal place of business for

conducting elections is located at 5600 Campbellton Fairburn Road, Fairburn, GA 30213 and its

Government Center is Fulton County Government Center, 141 Pryor Street, SW, Atlanta, GA

30303

                              GENERAL FACTUAL ALLEGATIONS

           9.      Georgia election law requires that ballot boxes must be closed when advance

voting is not being conducted. O.C.G.A. § 21-2-382.

           10.     Pursuant to O.C.G.A. §21-2-385 (d)(1)(B) the advance voting period ends the

Friday prior to the election.




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           11.    O.C.G.A. §21-2-385 (d)(1)(B) further states that “that voting shall occur only on

the days specified in this paragraph and counties and municipalities shall not be authorized to

conduct advance voting on any other days.”

           12.    On November 1, 2024, Plaintiff discovered that Fulton County has authorized the

Department of Registration and Elections to be opened between the hours of 9 a.m. to 4 p.m on

November 2nd and 3rd so that voters can hand return their absentee ballots. EX 1, incorporated

herein by reference.

           13.    November 2nd and 3rd are outside the advanced voting period authorized by

statute.

           14.    O.C.G.A. §21-2-382 further provides that “any additional drop boxes shall be

evenly geographically distributed by population in the county.”

           15.    However, Fulton County’s stated intention is to only open some drop boxes

tacitly acknowledging that the action of Fulton County is contrary to law as the drop boxes must

be closed.

           16.    Defendants were immediately notified about Defendants' violation of Georgia's

ballot box closure laws, but refused to take timely and effective action to ensure that state

election laws were complied with.

           This Court Should Enter a Temporary Restraining Order Against Defendants.

           To obtain a temporary restraining order or preliminary injunction, the movant must show:

    1) The threat of irreparable harm to the moving party;

    2) Whether the threatened injury outweighs the harm done to the party being enjoyed;

    3) Whether there is a substantial likelihood of prevailing on the merits; and

    4) Whether granting the interlocutory injunction is not against the public interest.

City of Waycross v. Pierce County Board of Commissioners, 300 Ga. 109, 111 (2016).

           17.    The purpose of temporary restraining order is to “‘protect[] against irreparable

harm and preserve[] the status quo until a meaningful decision on the merits can be made.’”



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Holmes v. Dominique, No. 1:13-CV-04270-HLM, 2014 WL 12115947, at *2 (N.D. Ga. May 5,

2014) (quoting Schiavo ex rel. Schindler v. Schiavo, 403 F.3d 1289, 1297 (11th Cir. 2005)).

        18.    The duration of the temporary restraint cannot exceed 30 days, as the court fixes,

“unless the party against whom the order is directed consents that it may be extended for a longer

period.” O.C.G.A. § 9-11-65(b)(2). However, if the Court grants the temporary restraining order,

“the motion for a preliminary injunction shall be set down for hearing at the earliest possible

time….” Id.

         19.   While the grant of a temporary restraining order is an extraordinary remedy that

should not be granted unless the movant clearly carries its burden as to the four aforementioned

elements, Western Sky Financial, LLC v. State ex rel. Olens, 300 Ga. 340, (2016), it is “designed

to preserve the status quo pending a final adjudication of the case.” Bijou Salon & Spa, LLC v.

Kensington Enterprises, Inc., 283 Ga.App. 857, 860 (2007); Poe & Brown of Georgia, Inc. v.

Gill, 268 Ga. 749, 750 (1997).

         20.   Here, a Temporary Restraining Order is Warranted since all elements are met.

The damage to Plaintiffs would begin in only a few hours as soon as the drop boxes are opened.

Defendant cannot be harmed simply by following the law as enacted by the General Assembly

and therefore the damage to Plaintiffs far outweighs that to Defendant. Additionally, granting

the injunctive relief maintains the status quo. As the law is clear on the timing of when drop

boxes may be open, here is a substantial likelihood of Plaintiffs succeeding on the merits and all

Georgia voters are entitled to having their elections conducted in a manner consistent with law

and in an equitable fashion across all 159 counties in Georgia. If Fulton County is permitted to

proceed with the clear violations of O.C.G.A. §1-2-382 and O.C.G.A. §21-2-385, it would make

the conduct of the election arbitrary. For the aforementioned reasons, the granting of Petitioner’s




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prayer for emergency injunctive relief is within the public’s interest and consistent with public

policy.

                                 COUNT I
            EMERGENCY INJUNCTION AND INTERLOCUTORY INJUNCTION
                    DROP BOXES MUST BE CLOSED WHEN
                    ADVANCE VOTING IS NOT OCCURRING

          21.    Plaintiffs repeat and reallege the allegations in Paragraphs 1-20 as set forth above

as though fully set forth herein verbatim.

          22.    The threat of irreparable harm to the moving party is real and immediate as once

these illegally cast absentee ballots are accepted, they will be impossible to be separated and not

counted;

          23.    Whether the threatened injury outweighs the harm done to the party being enjoyed

is without dispute as the allowance of one county to illegally accept absentee ballots while the

other 158 follow the law creates a substantial harm to Republican voters in other counties and

Republican candidates, as well as a real and immediate cost to find poll watchers to adequately

observe this weekend in Fulton County;

          24.    Whether there is a substantial likelihood of prevailing on the merits has been met

as the code sections at issue are clear and unambiguous and Fulton’s actions to allow receipt of

absentee ballots at drop boxes while in person voting is not occurring is in violation of Georgia

law; and

          25. Whether granting the interlocutory injunction is not against the public interest.

City of Waycross v. Pierce County Board of Commissioners, 300 Ga. 109, 111 (2016).

                                              COUNT II

                                 DECLARATORY JUDGEMENT

          26.    Plaintiffs repeat and reallege the allegations in Paragraphs 1-25 as set forth above

as though fully set forth herein verbatim.


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       27.      On account of the foregoing, an actual and justiciable controversy exists between

and among the parties regarding their respective rights, status or other legal relations under the

above-cited statutes. O.C.G.A. § 21-2-382 and O.C.G.A. §21-2-385.

       28.      Plaintiffs therefore seek a declaratory judgment that Defendants are not in

compliance with their legal obligations under the above-cited statutes.

       29.      The action of Fulton County in exercising a power specifically denied to them by

the General Assembly is a direct violation of state law.

       30.      As a result of the acts and omissions of Defendants, Plaintiffs have been

compelled to hire the services of an attorney to protect their interests and are entitled to

reimbursement of attorneys' fees and costs incurred in the prosecution of this action.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs pray for judgment as follows:

       a.       Declaratory judgment that Defendants are in violation of O.C.G.A. § 21-2-382

and O.C.G.A. §21-2-385.

       b.       A Temporary Restraining Order, Preliminary Injunction, and Permanent

Injunction providing that Defendants, as well as their officers, agents, servants, employees,

attorneys, and any persons acting in active concert or participation with them shall:

             • Cease any and all violations of O.C.G.A. § 21-2-382 and O.C.G.A. §21-2-385;

             • Not permit persons to hand-return their absentee ballots in violation of O.C.G.A.
                § 21-2-382 and O.C.G.A. §21-2-385; to wit; not accept absentee ballots in drop

                boxes on November 2 and 3, 2024 anywhere within Fulton County, Georgia;

       c. Award Plaintiffs’ their actual costs and attorney fees, and

                    d. Any such other and further relief as this Honorable Court deems just,

             equitable, and necessary under the circumstances.

             Respectfully submitted this 1st day of November, 2024.

                                              CHALMERS, ADAMS, BACKER & KAUFMAN,
                                              LLC




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                                            By:      /s/Alex B. Kauufman
                                                   Alex B. Kaufman
                                                   GA BAR: 136097
                                                   Kevin T. Kucharz
                                                   GA BAR: 713718
                                                   100 N Main St.
                                                   Suite 340
                                                   Alpharetta, GA 3009
                                                   (404)964-5587

                                                   Attorneys for Fulton County Republican Party
                                                   and Georgia Republican Party, Plaintiffs



                               CERTIFICATE OF SERVICE
       I hereby certify that the foregoing has been filed this day using the Court’s electronic

filing system which will automatically send notice of same to counsel of record, and I have

caused a true and accurate copy of the foregoing document to be served on all parties and

counsel of record via statutory electronic service. We have also sent a copy via email to Joseph

J. Siegelman at jsiegelman@cglawfirm.com

       This 1st day of November 2024,

                                                     /s/Alex Kaufman
                                                     Alex B. Kaufman
                                                     Georgia Bar: 136097
                                                     Kevin T. Kucharz
                                                     Georgia Bar: 713718
                                                     Chalmers, Adams, Backer & Kaufman, LLC
                                                     100 N. Main St., Suite 340
                                                     Alpharetta, GA 30009
                                                     AKaufman@chalmersadams.com
                                                     kkucharz@chalmersadams.com
                                                     (404) 964-5587




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              EXHIBIT H
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                         A GUIDE FOR REGISTERED VOTERS



This guide is an overview of Georgia’s absentee voting process. Additional information is
available on the Secretary of State’s web site at sos.ga.gov. Please use this guide along with the
Georgia Election Code and the Georgia State Election Board Rules. Citations in this guide refer
to the United States Code (U.S.C.), Georgia Election Code (O.C.G.A.) or Georgia State Election
Board Rules. In all matters, the law and rule are the final authority.




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                      WAYS TO VOTE IN GEORGIA



Election Day Voting
On Election Day, you must vote at your assigned precinct and present a photo ID. To check
your precinct location online go to: mvp.sos.ga.gov/MVP/mvp.do



Absentee Voting by Mail
Any voter registered in Georgia can vote absentee by mail. Just complete the application found
in the back of this guide. Then, mail, fax, email (as an attachment), or drop the application off at
your county registrar’s office.

Instead of emailing the printed application to your county, you can instead upload a
photo of it and other required documents on the Secretary of State’s website at
securemyabsenteeballot.sos.ga.gov/s/ The application portal allows you to verify your driver’s
license number on your voter registration record. We urge you to request your mail-in ballot
and get it back to your county registrar’s office as soon as possible. Mail-in ballots can be
requested no earlier than 78 days prior to the election and no later than the 11th day before the
election. The voted ballot must be received by your county registrar no later than close of the
polls on Election Day.

There are special provisions for Georgia Military and Overseas Voters that can be found
at: sos.ga.gov/page/military-and-overseas-voting


Absentee Voting in Person – Early Voting
Any voter registered in Georgia may vote absentee in person. This allows you to vote on a day
and time that is convenient for you. Beginning on the 4th Monday prior to Election Day, simply
visit your county or municipality early-voting site, fill out the application, and present one of
the permitted forms of photo ID. As Election Day approaches, your county may have multiple
early voting sites and even extended hours. Voting times and locations for your precinct can be
found at: mvp.sos.ga.gov/MVP/mvp.do

Some counties offer ballot delivery for registered voters who are hospitalized. Contact your
county registrar at least 5 days prior to the election for information regarding this option.




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                      ABSENTEE VOTING BY MAIL



Applying for Your Absentee Ballot
Paper absentee ballots will be mailed to voters only upon request. All written requests
must be submitted (by mail, fax, email) or personally delivered to the registrar office in the
county where you are registered to vote. Addresses and contact information can be found at:
sos.ga.gov/county-board-registrars-office

Written requests for absentee ballots can be made in the following ways:

  1. Absentee applications can be downloaded from the Secretary of State’s website at
     sos.ga.gov/sites/default/files/forms/Absentee_Ballot_Application_20212.pdf
     Instead of emailing the printed application to your county, you can instead upload
     a photo of it and other required documents on the Secretary of State’s website
     at securemyabsenteeballot.sos.ga.gov/s/ The application portal allows you to verify
     your driver’s license number on your voter registration record.

  2. You must include the number from your driver’s license. If you do not have one, 		
     include the number from your state-issued identification card, which you can 		
     get for free at any office of the Department of Driver Services or your county 		
     voter registration office. However, if you have neither a driver’s license nor a state
     ID card, then provide a copy or photo of one of the following:
     • United States Passport
     • Georgia voter identification card
     • Other valid photo identification card issued by a branch, department, agency, or
  		 entity of the State of Georgia, any other state, or the United States authorized by
  		 law to issue personal identification
     • United States military identification card
     • Employee identification card issued by any branch, department, agency, or entity
  		 of the United States government, Georgia state government, or Georgia county,
  		 municipality, board, authority, or any other entity of the state of Georgia
     • Tribal identification card, or
     • Any of the following documents that show your name and address:
  		 - Current utility bill
  		 - Bank statement
  		- Paycheck
  		 - Government check
  		 - Other government document

  3. The application has a place for you to provide a phone number and email address.
     While it is optional, providing contact information will better ensure that your county
     can contact you in a timely manner if there should be a problem with your application
     or absentee ballot so you can correct it.

  4. You may use the application to request that absentee ballots be sent to you 		
     automatically for every election remaining in the current election cycle, if you are
     eligible. To be eligible, you must be either:



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      •   Over age 65
      •   Have a physical disability
      •   Live overseas
      •   Be an active member of the military or a spouse or child or an active service member

No absentee ballot shall be mailed to an address other than your permanent mailing address
in the voter registration record or a temporary out-of-county or out-of-municipality address,
except in the case of a voter who has a physical disability or is in custody in a jail or other
detention facility.

There are no restrictions on who may assist you in completing an absentee ballot application
when you are personally submitting the application.

There are restrictions on who can apply for an absentee ballot on behalf of someone else
and what must be contained within the application. See pages 9-10 of this guide for more
information.


Ballot Application Submittal Dates
Absentee ballots may be requested any time between 78 days prior to the election and the 11th
day before Election Day. Please note that you should make your request early to allow enough
time for the ballot to be mailed to you, completed, returned and received back at the county
registrar office before the close of polls on Election Day, which is 7 p.m..


Receiving Your Absentee Ballot
Absentee and Non-UOCAVA ballots will be mailed:

Presidential Preference Primary         29 days prior to the election through the Friday 		
                                        before Election Day
General Primary                         29 days prior to the election through the 		
                                        Friday before Election Day
General Election                        29 days prior to the election through the Friday
                                        before Election Day
Special Election - Federal office       29 days prior to the election through the Friday
                                        before Election Day
Municipal General Primary               21 days prior to the election through the Friday
                                        before Election Day
Municipal General Election              21 days prior to the election through the Friday
                                        before Election Day
Special Election - Other                21 days prior to the election through the Friday
                                        before Election Day
Runoffs                                 As soon as possible




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Voting Your Absentee Ballot
Follow the instructions that your county elections official provides with your ballot. Youwill
receive all the forms and envelopes necessary for marking and returning of the ballot.
Ballots for UOCAVA voters will be sent between 49 and 45 days before federal elections.
There are special provisions for Georgia Military and Overseas Voters that can be found
at: fvap.gov/georgia

Failure to complete your ballot correctly could cause your ballot not to be counted.

If you registered to vote by mail or online and did not submit a copy of one of the required forms
of identification at that time, you will receive notification with your ballot package. Copies of
any IDs must be placed in the outer envelope.

If you do not have a driver’s license or state identification card and had to supply other
documents to verify your identity when you applied for an absentee ballot, then you must
provide the last four digits of your Social Security number in the appropriate place on the outer
envelope of your absentee ballot package.

If you have any questions, please contact your county registrar.



Submitting a Voted Absentee Ballot
A ballot must be received by the county registrar no later than the close of polls on Election Day.
Delivery can be either U.S. first class mail or hand delivered by the voter. If mailing, you must
affix postage to the ballot envelope. Ballots received after the polls close cannot be counted.
All counties must have at least one drop box location. For more information about drop boxes,
please contact your registrar.



Processing Your Voted Absentee Ballot
Once the absentee ballot is received by the county office, the registrar will compare the number
or your driver’s license or state identification card to the voter registration records to verify your
identity. If you do not have either of these photo IDs, then the registrar will examine the copies
of the other documents you were required to submit with your application.

If the number is missing, does not match what is on record or your other documentation is not
sufficient for any reason, your county will contact you and provide a document whereby you
can provide the necessary ID to verify your ballot.




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   ABSENTEE VOTING IN PERSON (ADVANCE VOTING)



Applying for Your Absentee Ballot and Voting
Voting any time prior to Election Day, even when done in person, is considered absentee
voting. You will complete an absentee ballot application in person at the early-voting location
immediately prior to casting your vote.

Photo Identification Required
You will need to provide proper photo identification anytime you vote in person. If you do not
have photo identification when you go to vote, you will be allowed to vote a provisional ballot
which you must cure. You will be required to cure it by providing proper photo identification
to the registrar within three days after Election Day for your ballot to count.

For more information on Georgia’s photo identification requirements, please visit
sos.ga.gov/page/georgia-voter-identification-requirements or call the Secretary of State’s
Election Division at (404) 656-2871.


Advance Voting Will Be Available:
Presidential Preference Primary        4th Monday prior to election through the Friday 		
                                       before Election Day
General Primary                        4th Monday prior to election through the Friday 		
                                       before Election Day
General Election                       4th Monday prior to election through the Friday 		
                                       before Election Day
Special Election - Federal office      4th Monday prior to election through the Friday 		
                                       before Election Day
Municipal General Primary              4th Monday prior to election through the Friday 		
                                       before Election Day
Municipal General Election             4th Monday prior to election through the Friday 		
                                       before Election Day
Special Election - Other               4th Monday prior to election through the Friday 		
                                       before Election Day
Runoffs                                As soon as possible


Early voting will be available on the Saturdays that occur during the early voting period.
Many counties also offer early voting on Sundays. Early voting times and locations
can be found for all elections in your county on your personal voter information page
at: mvp.sos.ga.gov/MVP/mvp.do

Voting Your Ballot
After returning your paper absentee ballot or voting in person during advance voting, you
will be marked in the voter registration system as “voted” and your votes will be tabulated on
Election Day.


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  ADDITIONAL QUESTIONS ABOUT ABSENTEE VOTING



If I lose the absentee ballot that was               Can someone else request an
sent to me, can I get another one?                   absentee ballot on my behalf?
Yes; however, you must sign an affidavit             A family member may request an
affirming that you lost, destroyed, or did           absentee ballot on your behalf if you are
not receive the first absentee ballot. In this       residing temporarily out of the county
instance, your county will issue another             or municipality, or if you have a physical
ballot. A new application is not required.           disability. The application for your absentee
                                                     ballot may, upon satisfactory proof of
                                                     relationship, be made by an adult who is
If I request an absentee ballot, can                 your mother, father, grandparent, aunt,
                                                     uncle, sister, brother, spouse, son, daughter,
I change my mind and still vote in                   niece, nephew, grandchild, son-in-law,
person?                                              daughter-in-law, mother-in-law, father-
If you still have the absentee ballot and give       in- law, brother-in-law, or sister-in-law of
it to the poll manager of the polling place,         the age of 18 or over. Relatives applying for
then you may vote a regular ballot.                  absentee ballots for you must also sign an
                                                     oath on the application.
If you have not received an absentee ballot,
or if you have returned the absentee ballot,         The absentee ballot will be mailed directly
but the registrar has not received it, you           to you at the permanent mailing address
may cancel the absentee ballot by making             on record at the registrar’s office or to
a written request to have the ballot marked          a temporary out-of-county or out-of-
“cancelled.” The managers of your precinct           municipality address. A voter with a
shall permit you to vote in person. Canceled         physical disability or a voter that is in
absentee ballots are handled in the same             custody in a jail or a detention facility may
manner as those returned too late to be              have the ballot mailed to a different address
counted.                                             within the county.

However, if the ballot has been completed            The application must be in writing and must
and received by the county registrar, then           contain the name and relationship of the
the absentee ballot shall be deemed to have          person requesting the ballot, if other than
been voted. No other ballot shall be issued.         yourself.




Can I give my voted absentee ballot to someone else to return for me?

It depends on how the ballot is returned.

A voted absentee ballot can be returned by mail or in person, by a family member as designated
on O.C.G.A. 21-2-385(a) or by a person living in your household.

If you have a physical disability, your voted absentee ballot may be returned by a family member
or housemate (as described above) OR by your caregiver.


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Can I vote by absentee ballot if I am                    Can someone distribute applications
confined to the hospital?                                for absentee ballots?
In some counties, a voter who is confined                Some of the important points of which
to a hospital on a primary or election day               you need to be aware, if you distribute
can vote an absentee ballot that is delivered            applications for absentee ballots include:
by a registrar or deputy registrar. The
ballot must be voted, sealed properly, and                 • The voter must personally sign the 		
returned to the deliverer. If you registered                 application.
to vote for the first time in Georgia by mail
                                                           • Voters who use an absentee ballot 		
and have not previously provided proper
                                                             application provided by an individual 		
identification, then you will be asked to
                                                             or organization must attest to the truth
provide proper identification. If you don’t
                                                             and correctness of the content of the 		
have it, you will be allowed to vote by
                                                             application and sign the application.
provisional ballot. Once the identification
and registration of the voter have been
verified, the vote will be officially recorded.
Please contact your county elections                     May I create my own absentee
official to inquire if it will deliver a ballot to       ballot application for others to use?
you in the hospital.                                     Any application for an absentee ballot sent
                                                         to any elector by any person or entity shall
                                                         utilize the form of the application made
Do I have to apply for an absentee                       available by the Secretary of State and shall
ballot for each election if I have a                     clearly and prominently disclose on the face
physical disability or I am 65 or over?                  of the form:

If you are 65 years or older or have a physical          “This is NOT an official government
disability, you may make a written request               publication and was NOT provided to you
to automatically receive an absentee ballot              by any governmental entity and this is NOT
for the primary, primary runoff, election,               a ballot. It is being distributed by [insert
and election runoff without having to an                 name and address of person, organization,
application for each. However, you will still            or other entity distributing such document
have to submit a request for each special                or material].”
election.
                                                         (iii) The disclaimer required by division (ii) of
                                                         this subparagraph shall be:
Can I receive assistance with my
                                                         (I) Of sufficient font size to be clearly readable
absentee ballot application?                             by the recipient of the communication;
Yes, but the person providing the assistance             (II) Be contained in a printed box set
must sign the application for the absentee               apart from the other contents of the
ballot.                                                  communication; and
                                                         (III) Be printed with a reasonable degree
                                                         of color contrast between the background
                                                         and the printed disclaimer.




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                       PENALTIES FOR FRAUDULENT
                        ABSENTEE VOTING ACTIVITY


3An individual who votes more than once           3It is a crime to pay or offer to pay a person
in an election is guilty of a felony.             any amount of money or to give a person
                                                  anything of value in exchange for voting for
                                                  a particular person or issue. Similarly, it is
3It is a crime to do any electioneering, or       against the law to pay someone not to vote.
otherwise attempt to influence a voter, at
the time he or she is voting an absentee
ballot.                                           3It is a crime to violate the secrecy of the
                                                  ballot, or otherwise tamper with ballots or
                                                  the voting system.
3 It is a crime to intimidate or use or
threaten to use violence to interfere with
anyone’s lawful right to vote.




                                        RESOURCES


County and city election officials can be a valuable source for absentee voting materials
and information. They can assist you in answering specific questions about the absentee
ballot process and can provide information to ensure the application and ballot is correct.



            COUNTY CONTACT                                     GEORGIA
             INFORMATION                                    ELECTION CODE
    sos.ga.gov/county-board-registrars-                    https://bit.ly/35GFIqR
                  office



        STATE ELECTION BOARD                              ABSENTEE BALLOT
                RULES                                      APPLICATIONS
   sos.ga.gov/page/state-elections-board           sos.ga.gov/sites/default/files/forms/
                                                  Absentee_Ballot_Application_20212.pdf




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            COMPLETING AN ABSENTEE BALLOT APPLICATION


Prior to submitting an absentee ballot application, a voter must be registered in the county
in which the voter resides. Voter registration status and county registrar information can be
found at mvp.sos.ga.gov/MVP/mvp.do


PAGE 1                                           Brad Raffensperger             Application for Georgia Official Absentee Ballot
                                                 Secretary of State             The information provided in this document is made under oath and penalty of law and will be used for official
                                                                                government purposes. When you sign this application, you affirm that you are a citizen of the U.S.,
Please print clearly. Be sure to                                                currently reside in Georgia and are eligible to vote in Georgia. Giving false information on this application
                                                                                violates Georgia law and is punishable by a fine up to $100,000, imprisonment for up to 10 years, or both.
complete all required sections.        Please print clearly. Be sure to complete all required sections.

                                       Date of Election                                    Date of Primary, Election, or Runoff (mm/dd/yyyy)
                                                                                   1
1.   Required: Election dates          Required                                            The application must be received by your election office* 11 days before the election.
     can be found at:                  Print voter name                                    Your name as it appears on your voter registration.
                                                                                   2
     sos.ga.gov/elections              Required                                            First                                     Middle                               Last                           Suffix

                                       Type of ballot
                                                                                   3          Democratic                Republican                  Non Partisan (will not have ANY party candidates listed)
2. Required: Print your voter 		       Required in primary

   name as it appears on your 		       Residential address                                 The residential or mailing address on your voter registration. If you no longer reside at the address where you
   voter registration.                 Required Your ballot will be
                                                                                   4
                                                                                           are registered to vote, contact your county election office prior to submitting this application.
                                       sent here unless you provide                        Address
                                       a temporary mailing address.                        City                                                          County                               GA Zip
3. Required: Check the box for         Temporary ballot
   type of ballot. 		                  mailing address                                     This address must be in a different county** than the one where you are registered unless you are physically
                                                                                           disabled or detained in jail or other detention facility.
                                       Only if you are temporarily                 5
                                       living outside the county**                         Address
4. Required: Print your voter 		       and want your ballot
                                       sent to this address.                               City                                                                   State                           Zip
   residential address.
                                       Contact information                         6
                                       Recommended                                         Phone number                                                  Email address
5. If you are temporarily living 		
                                                                                                                                            Georgia Driver’s License Number or State Identification Card Number
   outside the county and want         Voter identification                                Date of birth (mm/dd/yyyy)
                                       Required                                                                                   AND
   your ballot sent to this address,
   fill in temporary ballot mailing    Print carefully. This
                                       information will be used
                                                                                                                                                        OR
                                                                                                                                                I do not have a Georgia Driver’s License or Identification Card
   address.                            to verify your identity.                                                                                 and I am providing a copy of acceptable identification below.

                                       Failure to provide                                   Instructions:
6. Contact information is 		           accurate information
                                       may delay processing                                 • Make sure your identification on your
   recommended.                        your application.                                      ID card or document is visible.
                                                                                   7        • Take a photo of your full completed
                                       You must provide your                                  application and submit it
                                       date of birth AND                                                                                                        Place identification here
7. Required: Voter Identification.          • a Georgia
                                                                                              electronically to your elections office*
                                                                                              (addresses are online: elections.sos.                             if you did not provide a Georgia
   You must provide your date of              Driver’s License
                                              or Identification
                                                                                              ga.gov/Elections/countyregistrars.
                                                                                              do). You may also submit a hard copy
                                                                                                                                                                driver’s license or ID number
   birth AND                                  Card number                                     of your application via U.S. mail or in
                                       OR                                                     person to your elections office*.
   • Georgia Driver’s License or            • a copy of an                                  • If your acceptable form of
		 I.D. Card Number                           acceptable
                                              identification
                                                                                              identification does not fit in this box,
                                                                                              please attach a copy and submit it
   OR                                         from the list in
                                              the instructions.                               with your application.

   • a copy of acceptable 		
		 identification from the list in     Voter oath and
                                                                                           I, the undersigned, do swear and affirm that I am eligible to vote in Georgia, am a citizen of the U.S. and the facts presented
                                                                                           in this application are true. By signing this oath, you are swearing that you are the voter requesting an absentee ballot.
		 the instructions found on 		        signature                                           Signing this oath on behalf of another voter violates Georgia law and is punishable by a fine up to
                                       Required
		 of the second page of the 		                                                    8
                                                                                           $100,000, imprisonment for up to 10 years, or both.

		application.                         Use a pen. No electronic
                                       signatures allowed.
                                                                                           Voter, sign and date here (Required)
                                                                                                                                                                                              Date (mm/dd/yyyy)
                                                                                              X
8. Required: Voter oath signature
		 & date.                               If you received this application with your information pre-filled, received multiple or duplicate copies in the mail, or if an unauthorized person    Form continues ►
                                         offers to return your absentee ballot application, please report this to reportfraud@sos.ga.gov.
                                                                                                                                                                                                                  APP-21
                                             This is NOT an official government publication and was NOT provided to you by any governmental entity and this is NOT a ballot.
                                             It is being distributed by




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PAGE 2
                                                 Brad Raffensperger
                                                 Secretary of State        Application for Georgia Official Absentee Ballot
                                                                                    Your name as it appears on your voter registration.
                                      Print voter name
Please print clearly. Be sure to      Required
                                                                              9
                                                                                    First                                 Middle                           Last                                     Suffix
complete all required sections.                                                     By signing as assisting the voter, you are swearing under oath that the voter is entitled to assistance. Assisting
                                      Assisting a voter?
                                                                                    a voter who is not eligible for assistance in completing this application violates Georgia law and is punishable by
                                      If yes, the assistant must                    a fine up to $100,000 or imprisonment for up to 10 years, or both.
9. Required: Print your voter 		      complete this section. Voter
                                                                            10      Assistant’s name
                                      assistance is only allowed
   name as it appears on your 		      if the voter is illiterate
                                                                                    Assistant’s                                                                                          Date (mm/dd/yyyy)
   voter registration.                or physically disabled.
                                                                                    signature
                                                                                                     X


                                      Requesting a ballot                           I swear that the facts contained in this application       I swear (or affirm) that the above-named voter is:
10. Voter assitance information 		    on behalf of a voter?                         are true and that I am either the mother, father,          (check one)
		needed if the voter is illiterate   If yes, complete this section.                grandparent, brother, sister, aunt, uncle, spouse,
                                                                                    son, daughter, niece, nephew, grandchild,
                                                                                                                                                    physically disabled
                                      The voter must be physically
    or physically disabled.           disabled or temporarily                       son-in-law, daughter-in-law, mother-in-law,
                                                                                                                                                    temporarily residing out of the county**

                                      residing out of the county**          11      father-in-law, brother-in-law or sister-in-law of          Signature of authorized and eligible requestor
                                      and must still be eligible to                 the age of 18 and acknowledge that making a
11. Requesting a ballot on 		         vote in the county** where                    false statement on this application regarding
                                                                                                                                                    X
                                                                                    my relationship to the voter violates Georgia
    behalf of the voter because the   he or she is registered.
                                                                                    law and is punishable by a fine up to $1,000,
    voter is physically disabled or                                                 12 months in jail, or both.                                Relationship to voter

    temporrily residing out of the    Ballot request                                   I opt-in to receive an absentee ballot for           UOCAVA Voters only

		county. Affirmation, signature      opt-in                                           the rest of the election cycle.                      My current status is (check one)
                                      Optional
    and relationship to voter is 		   If you meet the eligibility
                                                                                    I am eligible for the reason selected below:               MOS - Military Overseas
                                                                                                                                               MST - Military Stateside
                                                                                       D- Disabled. I am physically disabled
    needed.                           criteria, you may opt-in to
                                                                                       E- Elderly. I am 65 years of age or older               OST - Overseas Temporary Resident
                                      receive an absentee ballot            12                                                                 OSP - Overseas Permanent Resident
                                      for the rest of the elections                    U- UOCAVA. I am a uniformed service
                                                                                       member, spouse or dependent of a                        (may vote for federal offices only)
12. If you meet the eligibility 		    cycle without making
                                      another application.                             uniformed service member, or other US                (Optional) By entering my email, I request that my absentee
    criteria, you may opt-in to 		                                                     citizen residing overseas. (Complete the
                                                                                       information to the right)
                                                                                                                                            ballot be transmitted to me electronically.

    receive an absentee ballot for                                                                                                          Email

    the rest of the elections 		
                                        Acceptable forms of identification if you                                    How to return your absentee ballot application
    cycle without making another        do not have a Georgia Driver’s License or                                    Absentee ballot applications must be received 11 days before the date of the election.
    application. Check appropriate      State Identification Card Number                                             You can return the form by:
                                        Identification with your photograph:                                             • mail    • email (as an attachment)
    boxes.                                • United States Passport                                                       • fax     • in-person at your elections or registrar’s office
                                          • Georgia voter identification card                                        Your County Board of Registrar’s Office information can be found online:
                                          • Other valid identification card issued by a branch, department,          https://elections.sos.ga.gov/Elections/countyregistrars.do
                                            agency, or entity of the State of Georgia, any other state, or the
                                            United States authorized by law to issue personal identification         *In state, county, and federal elections, your elections office is your county elections
                                          • United States military identification card                               office. In municipal elections, your elections office is your municipal elections office.
                                          • Employee identification card issued by any branch, department,           **Or, in municipal elections, municipality.
                                            agency, or entity of the United States government, Georgia state
                                                                                                                     No person or entity other than the elector, a relative authorized to request an absentee
                                            government, or Georgia county, municipality, board, authority, or
                                                                                                                     ballot for such elector, a person signing as assisting an illiterate or physically disabled
                                            any other entity of the state of Georgia
                                                                                                                     elector with his or her application, a common carrier charged with returning the ballot
                                          • Tribal identification card                                               application, an absentee ballot clerk, a registrar, or a law enforcement officer in the
                                        Documents that show your name and address:                                   course of an investigation shall handle or return an elector’s completed absentee ballot
                                          • Current utility bill • Bank statement • Paycheck                         application. Handling a completed absentee ballot application by any person or
                                          • Government check • Other government document                             entity other than as allowed in this paragraph is a misdemeanor.


                                        Ballot                                Dates                              ID Shown                                                                For office use only
                                        Dist. Combo                           Received                           GA DL                                  I certify that the above named voter
                                        Precinct                              ISS                                Other                                      is eligible
                                        Ballot #                              Certified                          Voter Reg #                                is not eligible
                                                                                                                                                        Registrar signature
                                                                              Rejected
                                                             Mailed                 Delivered to voter in hospital            Voted in office
                                        Ballot to be:
                                                             electronically         by Registrars or Deputy                   (municipal only)

                                           This is NOT an official government publication and was NOT provided to you by any governmental entity and this is NOT a ballot.
                                           It is being distributed by




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              EXHIBIT I
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                       CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing document has been prepared in accordance

with the font type and margin requirements of L.R. 5.1, using the font type of Times

New Roman and a point size of 14.

Dated: November 4, 2024
                                 /s/ Jeffrey R. Harris
                                 Jeffrey R. Harris
                                 Georgia Bar No. 330315
                                 HARRIS LOWRY MANTON LLP
                                 410 E. Broughton Street
                                 Savannah, GA 31401
                                 (912) 651-9967
                                 jeff@hlmlawfirm.com

                         CERTIFICATE OF SERVICE

      I hereby certify that on November 4, 2024, I electronically filed this document

with the Clerk of Court using the CM/ECF system, which will automatically send

email notification of such filing to the attorneys of record.

Dated: November 4, 2024

                                 /s/ Jeffrey R. Harris
                                 Jeffrey R. Harris
                                 Georgia Bar No. 330315
                                 HARRIS LOWRY MANTON LLP
                                 410 E. Broughton Street
                                 Savannah, GA 31401
                                 (912) 651-9967
                                 jeff@hlmlawfirm.com




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